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                              THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    BASILIO TOVAR, and                                 §
    RUBI ESPARZA,                                      §
                                                       §
             Plaintiffs,                               §
                                                       §
    v.                                                 §    CIVIL ACTION NO. 3:23-cv-1758-K
                                                       §
    JOSUE RODRIGUEZ,                                   §
                                                       §
             Defendant.                                §

                           DEFENDANT JOSUE RODRIGUEZ’S ANSWER TO
                            PLAINTIFFS’ FIRST AMENDED COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

           Defendant Josue Rodriguez files his answer in response to Plaintiffs’ First Amended

Complaint (Doc. 11): 1

           “[A] Fourth Amendment violation may be established where an officer intentionally,
           or with reckless disregard for the truth, includes a false statement in a warrant
           application. Likewise, the intentional or reckless omission of material facts from a
           warrant application may amount to a Fourth Amendment violation.”

Kohler v. Englade, 470 F.3d 1104, 1113 (5th Cir. 2006).

ANSWER: The unnumbered paragraph on page 1 of the Complaint does not plead any factual

allegations. Therefore, no answer is required. Defendant objects that this unnumbered paragraph

violates Federal Rule of Civil Procedure 10(b), which requires that “[a] party must state its claims

or defenses in numbered paragraphs, each limited as far as practicable to a single set of

circumstances.”




1
 For ease of reference, Defendant restates verbatim the allegations in each numbered paragraph of the
Complaint (except where noted with “[sic]”) in the main body of his answer. Following each numbered
paragraph of allegations, Defendant sets forth his admissions or denials in response to those allegations.
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                                             SUMMARY

       On December 16, 2022, Detective Josue Rodriguez with the Dallas Police Department

included false and misleading statements in the warrant affidavits for Basilio Tovar and Rubi

Esparza, resulting in their wrongful arrest for a murder they did not commit. Just before 6:00 AM on

December 19, 2022, the police came to their home, pointed rifles at them, and arrested them for

murder with an arrest warrant based off Detective Rodriguez’s affidavit. However, Basilio and Rubi

did not commit the crime, were not at the location where the crime was committed, and the criminal

charges were never even filed as it was clear that they had been wrongfully arrested.

       However, both Basilio and Rubi spent Christmas in the Dallas County Jail – instead of at

home with their eight- and ten-year-old sons. Basilio’s bond was set at $250,000 and Rubi’s bond

was set at $1,000,000. Rubi was not released until after spending ten days in jail. Basilio was not

released until spending eleven days in jail. However, because their bonds were so high, neither Rubi

nor Basilio had any idea how long they were going to remain in custody fighting their cases. Both

were aware that a trial may not occur for months or even years and innocent people are convicted at

trial all the time. Accordingly, the time spent in custody did not feel like ten or eleven days, but was

time spent without an ending in sight and not knowing when or if they would be able to see and hug

their children again.

       Once finally released, the impact of Detective Rodriguez’s false statements continued to

negatively affect them. Rubi was fired from her job for being arrested for murder and was unable to

obtain new employment for months due to her background continuing to show the arrest. Basilio had

to take a demotion at work due to missing time while in jail and is making less money now.

       Basilio and Rubi now file this lawsuit against Detective Rodriguez for violating their

constitutional rights under the Fourth Amendment to the United States Constitution.
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ANSWER: Defendant objects that this unnumbered summary spanning page 2 of the Amended

Complaint violates Federal Rule of Civil Procedure 10(b), which requires that “[a] party must state

its claims or defenses in numbered paragraphs, each limited as far as practicable to a single set of

circumstances.” The allegations contained therein are denied as stated.

                                                   I.
                                                PARTIES

            1.     Plaintiff Basilio Tovar is a resident of Dallas County, Texas.


ANSWER:          Admitted.

            2.     Plaintiff Rubi Esparza is a resident of Dallas County, Texas.

ANSWER:          Admitted.

       3.        Defendant Josue Rodriguez is a Detective with the City of Dallas Police Department

and may be served at his place of employment at the City of Dallas Police Department located at 1400

Botham Jean Blvd, Dallas, TX 75215, or wherever he may be found. Defendant Rodriguez is being

sued in his individual capacity.

ANSWER:          Admitted.

                                               II.
                                    JURISDICTION AND VENUE

       4.          The Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1331

and § 1343 since Plaintiff is suing for relief under 42 U.S.C. § 1983.

ANSWER:          Admitted.

       5.        Venue is proper in the Northern District of Texas pursuant to 28 U.S.C. § 1391 because

the Defendants [sic] are domiciled and/or reside in the Northern District of Texas and all of the causes

of action accrued in the Northern District of Texas.

ANSWER:          Admitted.
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                                          III.
                                 FACTS AND ALLEGATIONS

       6.      On November 5, 2022, at approximately 1:00 a.m., Xavier Ramón Hernández was

shot and killed in front of the Chevron Gas Station located at 4323 W. Illinois Ave., Dallas, Texas.

ANSWER:        Admitted.

       7.      Detective Josue Rodriguez with the Dallas Police Department investigated the

murder.

ANSWER:        Admitted.

       8.        A witness stated that a black truck pulled up, the passenger door opened, a gun shot

was fired, and the truck drove away.

ANSWER:        Admitted.

       9.        Detective Rodriguez also learned that on the night Xavier Hernandez was killed, he

had been at Player’s Bar with his girlfriend, Maria Barrientez, and some other people including

Basilio Tovar and Rubi Esparza.

ANSWER:        Admitted.

       10.       Detective Rodriguez also learned that Rubi and Basilo drove a black truck.

ANSWER:        Admitted.

       11.       Detective Rodriguez then wrote affidavits for the arrests of Basilio and Rubi.

ANSWER:        Admitted.

       12.       However, Detective Rodriguez did so by omitting material exculpatory facts and

making false statements that mislead the court into believing there was probable cause to arrest

Basilio and Rubi – when in fact, the evidence showed they were not involved in the shooting.

ANSWER:        Denied.

       13.       On December 16, 2022, Defendant Rodriguez, as the affiant, swore to an affidavit
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for arrest warrant for Basilio Tovar for the crime of murdering Xavier Ramón Hernández on

November 5, 2022.

ANSWER:        Admitted.

       14.       That same day, on December 16, 2022, Defendant Rodriguez, as the affiant, swore

to an affidavit for arrest warrant for Rubi Esparza for the crime of murdering Xavier Ramón

Hernández on November 5, 2022.

ANSWER:        Admitted.

       15.       Defendant Rodriguez signed both affidavits and swore to the validity of the facts

included in them.

ANSWER:        Admitted that Detective Rogriguez signed the arrest affidavit under oath. The

remaining allegations are denied.

       16.       Defendant Rodriguez made materially false statements and omissions related to

Rubi and Basilio’s truck being at the scene of the shooting, driving away from the scene of the

shooting, and their phone data placing them at the shooting.

ANSWER:        Denied.

       17.       It is undisputed that their truck is not the truck involved in the shooting and that

they were never at the scene of the shooting or driving away from the scene of the shooting.

ANSWER:        Defendant lacks knowledge or information sufficient to form a belief about the truth

of the remaining allegations in this paragraph.


       18.       The following are screenshots of the affidavits sworn to by Defendant Rodriguez

for the arrests of Basilio and Rubi for the crime of murder, a violation of Section 19.02 of the Texas

Penal Code, a first-degree felony.

ANSWER:        Admitted.
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        19.          In each of the screenshots, four statements have been highlighted in orange, yellow,

blue, and pink.

ANSWER:           Admitted.

        20.       These statements were included to mislead the court into issuing arrest warrants for

Basilio and Rubi.

ANSWER:           Denied.

        21.       Without these misleading statements, the court would not have found probable cause

for their arrests.

ANSWER:           Denied.
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            “Witness Barrientez stated that she went to look for the Complainant outside
            with her cousin, Suspect Tovar and Suspect Esparza, but they could not find
            him. After not being able to find the Complainant, Suspect Tovar and Esparza
            left the bar.”

ANSWER: Defendant objects that this unnumbered paragraph violates Federal Rule of Civil

Procedure 10(b), which requires that “[a] party must state its claims or defenses in numbered

paragraphs, each limited as far as practicable to a single set of circumstances.” Defendant further

objects that the contents of this paragraph are duplicative of the paragraph that follows it.

       22.          Defendant Rodriguez wrote in the arrest affidavits for Basilio and Rubi that

“Witness Barrientez stated that she went to look for the Complainant outside with her cousin, Suspect

Tovar and Suspect Esparza, but they could not find him. After not being able to find the Complainant,

Suspect Tovar and Esparza left the bar.” This statement is highlighted in orange in the above

screenshot of the affidavit.

ANSWER:           Admitted.

            23.     This is a materially false statement, or alternatively a materially misleading

statement which required other information and context, the absence of which constituted a material

omission, which was intentionally written by Detective Rodriguez to mislead the Court into issuing

a warrant for Basilio’s and Rubi’s arrest.

ANSWER:           Denied.

       24.          Detective Rodriguez’s statement informed the magistrate reviewing the affidavit

supporting the application for the warrant that after failing to locate Mr. Hernandez, Rubi and Basilio

left the bar – giving them the opportunity to go shoot Mr. Hernandez at the time the shooting

occurred.

ANSWER:           Denied as stated.

       25.          However, the truth is that Maria Barrientez told Detective Rodriguez that after they
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could not find Mr. Hernandez, they then walked outside the front of the bar where Rubi ordered tacos

from a taco stand. Mrs. Barrientez then asked her cousin Basilio Tovar for a cigarette, but Basilio

told her that the cigarettes were in her car in the parking lot. Mrs. Barrientez went with Basilio to her

car in the parking lot and sat in the car smoking a cigarette. Rubi was standing outside of the car

eating the tacos she just purchased. It was only after Rubi finished eating the tacos, that she and

Basilio then left.

ANSWER:         Denied as stated.

        26.          This is not the same version of events that Detective Rodriguez portrayed in his

affidavit to the reviewing Magistrate. Detective Rodriguez would have the Magistrate believe that

upon failing to find Mr. Hernandez behind the bar, Rubi and Basilio immediately left.

ANSWER:         Denied as stated

        27.     However, Rubi and Basilio remained at the bar while Rubi purchased and ate tacos

with the group.

ANSWER:         Defendant lacks knowledge or information sufficient to form a belief about the truth

of the remaining allegations in this paragraph.

        28.          Had this information been included in the affidavit, it would have detracted from a

finding of probable cause because Rubi and Basilio would not have had the same opportunity to go

commit the murder at the time when the shooting occurred as they would have had if they

immediately left the bar after failing to find Mr. Hernandez – as the affidavit incorrectly portrays.

ANSWER:         Denied as stated.

        29.          The way that Detective Rodriguez wrote the sentence, it also appears that Rubi and

Basilio left the bar to go find Mr. Hernandez – further misleading the Magistrate regarding Rubi and

Basilio’s motive and intent for leaving the bar.

ANSWER:         Denied as stated.
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       30.       This was a completely misleading statement in the affidavit that omitted materially

exculpable information about what time Rubi and Basilio left the bar.

ANSWER:        Denied.

       31.       Detective Rodriguez knew his statement was false and misleading since he gathered

information on when Rubi and Basilio left the bar from Maria Barrientez, and she told him that they

stayed at the bar and Rubi got tacos before leaving.

ANSWER:        Denied.

       32.       Thus, when Detective Rodriguez wrote the affidavit and signed it, he knew this

statement was not true and to be omitting materially exculpable information.

ANSWER:        Denied.

       33.       Detective Rodriguez intentionally wrote his statement in a way to mislead the

Magistrate into finding probable cause and warrants would be issued for Basilio’s and Rubi’s arrests.

ANSWER:          Denied.

         “A check of the FLOCK (license plate reader) system showed a 2016 black
         Chevy Silverado (Texas tag NXT9166, which is registered to Rubi Esparza)
         driving away from the offense location shortly after the offense occurred.”

ANSWER:        Defendant objects that this unnumbered paragraph violates Federal Rule of Civil

Procedure 10(b), which requires that “[a] party must state its claims or defenses in numbered

paragraphs, each limited as far as practicable to a single set of circumstances.” Defendant further

objects that the contents of this paragraph are duplicative of the paragraph that follows it.

       34.       Defendant Rodriguez wrote in the arrest affidavits that “A check of the FLOCK

(license plate reader) system showed a 2016 black Chevy Silverado (Texas tag NXT9166, which is

registered to Rubi Esparza) driving away from the offense location shortly after the offense

occurred.” This statement is highlighted in yellow in the above screenshots of the affidavits.

ANSWER:        Admitted.
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       35.       However, Rubi and Basilio’s truck (Texas tag NXT9166) never drove away from

the offense location as they were never at the offense location on the night of the murder.

ANSWER:        Defendant lacks knowledge or information sufficient to form a belief about the truth

of the remaining allegations in this paragraph.

       36.     Rubi and Basilio’s truck left Player’s Bar and drove home. The path of their truck

never took them to the offense location – which occurred in front of the Chevron at 4323 W. Illinois

Ave, Dallas, Texas.

ANSWER:        Defendant lacks knowledge or information sufficient to form a belief about the truth

of the remaining allegations in this paragraph.

       37.     The Magistrate reading this statement would have understood the statement to mean

that Rubi and Basilio’s truck was leaving the scene of the shooting as that is the offense location.

This would clearly be important to whether there was probable cause to arrest the people inside of the

truck leaving the scene of the shooting shortly after the shooting occurred.

ANSWER:        Denied as stated.

       38.     Detective Rodriguez omitted from the affidavit that Rubi and Basilo’s truck was not

driving away from the offense location but was simply driving away from Player’s Bar which was

0.3 miles from the shooting location.

ANSWER:        Denied as stated.

       39.       The FLOCK system shows the time that a vehicle’s image is taken at a particular

location. Accordingly, Detective Rodriguez knew that when Rubi’s truck was captured by the

FLOCK system, it was not “shortly after the offense occurred.”

ANSWER:        Admitted that the FLOCK system shows the time that a vehicle’s image is taken at a

particular location. The remaining allegations are denied.

       40.     Below is an example of the images of a car Dallas Police see when looking on
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FLOCK. 2 To be clear, this is not an image of anything related to this case, but merely for illustrative

purposes of what types of photographs and information Detective Rodriguez would have been

looking at on FLOCK.




ANSWER:          Defendant lacks knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

        41.         The FLOCK images clearly indicate the date and time a vehicle was at a particular

location – down to the seconds.

ANSWER:          Defendant lacks knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

        42.         The FLOCK images would have shown Detective Rodriguez that Basilio and

Rubi’s truck was leaving Player’s Bar at a time inconsistent with their involvement in the shooting.




2
  https://www.wfaa.com/article/news/crime/dallas-police-new-technology-helping-them-catch-violent-
criminals/287-537d665c-1ec3-4915-8792-320bbd0ec29f, last visited August 1, 2023.
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ANSWER:         Denied as stated.

       43.        Clearly this changes the probable cause analysis – causing there to be no probable

cause based off a truck driving in the area – but not leaving the scene of the shooting – far too long

after the shooting for it to be connected – not shortly after the shooting occurred.

ANSWER:         Denied.

       44.      Detective Rodriguez knew his statement was false and misleading since he gathered

information on Rubi and Basilio’s truck from the FLOCK system which shows the time their vehicle

was at a particular location.

ANSWER:         Admitted that Detective Rodriguez gathered information on Rubi and Basilio’s truck

from the FLOCK system which shows the time their vehicle was at a particular location. The

remaining allegations are denied.

       45.        Thus, when Detective Rodriguez wrote the affidavit and signed it, he knew this

statement was not true.

ANSWER:         Denied.

          46.     Detective Rodriguez intentionally wrote his statement in a way to mislead the judge

so that a finding of probable cause would occur, and a warrant would be issued for Basilio’s arrest.

ANSWER:           Denied.

          “The suspect vehicle from video surveillance is identical to the images from
          FLOCK.”

ANSWER:         Defendant objects that this unnumbered paragraph violates Federal Rule of Civil

Procedure 10(b), which requires that “[a] party must state its claims or defenses in numbered

paragraphs, each limited as far as practicable to a single set of circumstances.” Defendant further

objects that the contents of this paragraph are duplicative of the paragraph that follows it.
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       47.        Defendant Rodriguez also wrote in the arrest affidavits for Basilio and Rubi that

“The suspect vehicle from video surveillance is identical to the images from FLOCK.” This

statement is highlighted in blue in the above screenshot of the affidavit.

ANSWER:           Admitted.

       48.      This is a materially false statement which was intentionally written by Detective

Rodriguez to mislead the Court into issuing a warrant for Basilio’s and Rubi’s arrest.

ANSWER:         Denied.

       49.      While the suspect vehicle and Basilio and Rubi’s truck are both black Chevrolet

pickup trucks, there are obvious differences, and they are not “identical” as indicated in the Affidavit.

ANSWER:         Denied as stated.

       50.      The rims on the wheels and the chrome bars on the sides are patently different.

ANSWER:         Denied as stated.

       51.      Below is an image of the suspect vehicle from the shooting. The rims on the wheels

have five large thick spokes with wide gaps between them.

ANSWER:         Defendant lacks information sufficient to either admit or deny whether this particular

image below depicts the suspect vehicle from the shooting. All remaining allegations are admitted.

       52.      Additionally, the chrome bar on the side of the truck is thick and runs down the middle

of the doors.

ANSWER:         Admitted.
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       53.     Contrast this with the below image of Rubi and Basilio’s truck. The rims on the

wheels have many small spokes with narrow gaps between them.

ANSWER:        Defendant lacks information sufficient to either admit or deny whether this particular

image below depicts Plaintiffs’ truck at any relevant time. The remaining allegations are admitted.

       54.     Here, the chrome bar on the side of the truck is narrow and runs along the bottom of

the doors.

ANSWER:        Denied.
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       55.          Additionally, below is a rear view of Rubi and Basilio’s truck. Their truck has a

back sliding glass window on the rear glass. The suspect truck does not.

ANSWER:        Defendant lacks knowledge or information sufficient to form a belief about whether

this particular photo depicts Plaintiffs’ truck at any relevant time. Admitted that the truck depicted

below has a sliding glass window on the rear glass. The remaining allegations in this paragraph are

admitted.

       56.     Additionally, Basilio and Rubi’s rear bumper has steps on both corners. The suspect

vehicle does not.

ANSWER:        Defendant lacks knowledge or information sufficient to form a belief about whether

Plaintiffs’ truck had steps on both corners of the rear bumper. The remaining allegations in this

paragraph are admitted.
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       57.        Accordingly, the statement that “The suspect vehicle from video surveillance is

identical to the images from FLOCK” was a false statement because the two trucks are not “identical”

but have obvious differences that indicate they are not the same truck.


ANSWER:           Denied.
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          58.        Detective Rodriguez knew this due to looking at the suspect’s truck in the

surveillance video and looking at FLOCK images of Rubi and Basilio’s truck.

ANSWER:            Denied.

            59.      Below is that same example of the images of a car Dallas Police see when looking

    on FLOCK. 3




ANSWER:            Defendant lacks knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

            60.      The images clearly depict a substantial portion of the car – not just the license plate.

ANSWER:            Defendant lacks knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

            61.      While the suspect truck and Rubi and Basilio’s truck are both black Chevy pickup




3
    https://www.wfaa.com/article/news/crime/dallas-police-new-technology-helping-them-catch-violent-
    criminals/287-537d665c-1ec3-4915-8792-320bbd0ec29f, last visited August 1, 2023.
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trucks – that is where the similarity ends.

ANSWER:          Denied.

        62.      Detective Rodriguez was filling out an affidavit for an arrest in a murder investigation

– these obvious differences were pieces of material exculpatory information that were omitted from

the affidavit.

ANSWER:          Denied.

        63.      These differences are clearly noticeable regardless of the angle Detective Rodriguez

was looking at the truck as the differences are all over the trucks.

ANSWER:          Denied.

        64.      The corrected sentence in the affidavit should have read, “The suspect vehicle from

video surveillance is not identical to the images from FLOCK because the rims on the trucks are

different, the truck in the FLOCK image has a rear glass window but the suspect vehicle in the video

surveillance does not, the bumper on the vehicle in the FLOCK image has steps on the corners but

the suspect vehicle in the video surveillance does not, the truck in the FLOCK image has a chrome

running bar on the bottom of the doors but the suspect vehicle in the video surveillance has a chrome

running bar much higher up in the middle of the doors.”

ANSWER:          Denied.

        65.      When adding in the omitted information, it is clear that probable cause would not

have been found based off of these being different trucks – in conjunction with the corrected

description of where the truck was actually going and coming from and that it was not seen until too

long after the shooting for it to have been leaving the scene of the shooting.

ANSWER:          Denied.

        66.        Thus, when Detective Rodriguez wrote the affidavit and signed it, he knew this

statement was not true as it is obvious that the two trucks are not identical.
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ANSWER:           Denied.

          “On December 2, 2022, Detective Rodriguez obtained phone records for
          Suspect Tovar [and Suspect Esparza]. Records showed he [and she] was in the
          area of the offense around the time the offense occurred.”

ANSWER:        Defendant objects that this unnumbered paragraph violates Federal Rule of Civil

Procedure 10(b), which requires that “[a] party must state its claims or defenses in numbered

paragraphs, each limited as far as practicable to a single set of circumstances.” Defendant further

objects that the contents of this paragraph are duplicative of the paragraph that follows it.

       67.        Detective Rodriguez also wrote in the arrest affidavits for Basilio and Rubi that “On

December 2, 2022, Detective Rodriguez obtained phone records for Suspect Tovar [and Suspect

Esparza]. Records showed he [and she] was in the area of the offense around the time the offense

occurred.” These statements are highlighted in pink in the above screenshots of the affidavits.

ANSWER:        Admitted.

       68.        This is a materially false statement, or alternatively a materially misleading

statement which required other information and context, the absence of which constituted a

material omission, which was intentionally written by Detective Rodriguez to mislead the Court into

issuing a warrant for Basilio’s arrest.

ANSWER:        Denied.

       69.        This statement is materially false and highly misleading in that it would have the

reader (the judge) believe that Basilio’s and Rubi’s phones placed them at the shooting.

ANSWER:        Denied.

       70.        However, Basilio and Rubi were at Player’s Bar – 0.3 miles away from the shooting

location – and never went to the shooting location that night.

ANSWER:        Admitted that on the night of the shooting Basilio and Rubi were at Player’s Bar,

which is located 0.3 miles away from the shooting location. Defendant lacks knowledge or
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information sufficient to form a belief about the truth of the remaining allegations in this paragraph.

       71.       Detective Rodriguez omitted from the affidavit that the reason Basilio’s and Rubi’s

phones showed they were “in the area” was that they were at Player’s Bar that night. Detective

Rodriguez omitted that this phone data does not place Basilio or Rubi at the scene of the shooting

and omitted how large of an area the phone data placed Basilio or Rubi.

ANSWER:        Denied as stated.

       72.       Instead, Detective Rodriguez wrote a misleading statement which required context

that he omitted knowing that if he simply wrote that Basilio’s and Rubi’s phone data placed them at

Player’s Bar that night it would not be enough for probable cause.

ANSWER:        Denied.

       73.       Clearly, when adding this omitted information, this sentence does not support

probable cause. This is especially true in conjunction with adding in the differences in the vehicles

and the fact that Rubi and Basilio’s truck never went to the location of the shooting and did not drive

away from the location of the shooting shortly after the shooting – or any other time.

ANSWER:        Denied.

       74.       Thus, when Detective Rodriguez wrote the affidavit and signed it, he knew this

statement to be misleading and require context explaining the statement.

ANSWER:        Denied.

       75.       Detective Rodriguez knew this due to understanding that the area of the phone

records was not confined to the location of the shooting and that it would show Basilio and Rubi “in

the area” if Basilio and Rubi were at Player’s Bar, which had been corroborated by witnesses.

ANSWER:        Denied as stated.

       76.       The omitted and false facts concerning Basilio and Rubi’s truck being at the scene

and leaving the scene of the shooting, were critical and material to the Court’s analysis of whether or
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not there was probable cause.

ANSWER:        Denied.

       77.       As a direct and proximate result of Defendant Rodriguez’s actions, Basilio and Rubi

were wrongly arrested for the crime of murder – a first degree felony.

ANSWER:        Admitted that Plaintiffs were arrested for the crime of murder, which is a first degree

felony. The remaining allegations are denied as stated.

       78.       Further support for the arrest affidavit being based on false and misleading

information was that charges against Basilio and Rubi were never even filed and Basilio and Rubi

were released from custody without needing to post bond.

ANSWER:        Denied as stated.

       79.     As a direct and proximate result of Detective Rodriguez’s actions in causing Plaintiff

Basilio Tovar to be arrested for murder – Basilio was arrested, was incarcerated in the Dallas County

Jail on a $250,000 bond with no idea when or if he would be released for eleven days away from his

wife and two children, spent Christmas in jail away from his wife and two children, lost wages from

time missed at work, suffered a demotion and reduction in pay at his job upon return to work, suffered

irreparable harm to his reputation, suffered embarrassment and mental anguish, was forced to hire a

criminal defense attorney, and had his family truck and cell phone seized.

ANSWER:        Admitted that Plaintiff Basilio Tovar was arrested for murder and held in the Dallas

County jail on a $250,000 bond. The remaining allegations are denied.

         80.     As a result of Detective Rodriguez violating Basilio’s constitutional rights, Basilio

  suffered injuries and damages in the form of emotional distress, torment, and mental anguish,

  deprivation of his liberty, and losses of income and earning capacity.

ANSWER:        Denied.

         81.     As a direct and proximate result of Detective Rodriguez’s actions in causing
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  Plaintiff Rubi Esparza to be arrested for murder – Rubi was arrested, was incarcerated in the Dallas

  County Jail on a $1,000,000 bond with no idea when or if she would be released for ten days away

  from her husband and two children, spent Christmas in jail away from her husband and two

  children, lost wages from time missed at work, was fired from her job, was unable to obtain new

  employment due to the murder arrest on her record, suffered irreparable harm to her reputation,

  suffered embarrassment and mental anguish, was forced to hire a criminal defense attorney, and

  had her family truck and cell phone seized.

ANSWER:        Admitted that Plaintiff Rubi Esparza was arrested for murder and held in the Dallas

County jail on a $1,000,000 bond. The remaining allegations are denied.

         82.     As a result of Detective Rodriguez violating Rubi’s constitutional rights, Rubi

  suffered injuries and damages in the form of emotional distress, torment, and mental anguish,

  deprivation of her liberty, and losses of income and earning capacity.

ANSWER:        Denied.

         83.     These injuries and damages were not caused by any other means.

ANSWER:        Denied.

         84.     Defendant Rodriguez was at all times acting under color of law as he was acting in

  his capacity as a detective with the Dallas Police Department when he submitted an affidavit for

  an arrest warrant to be signed by a judge for the arrest of both Basilio and Rubi.

ANSWER:        Admitted.
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                                                    IV.
                                        CAUSES OF ACTION

                                                Count One

                                           False Arrest
                     On Behalf of Plaintiffs Basilio Tovar and Rubi Esparza
                Violation of the Fourth Amendment Pursuant to 42 U.S.C. § 1983
                                  Against Defendant Rodriguez

         85.     The “right to be free from arrest without probable cause is a clearly established

  constitutional right.” Mangieri v. Clifton, 29 F.3d 1012, 1016 (5th Cir. 1994).

ANSWER:        This paragraph contains no factual allegations, and thus no response is required.

         86.     The Supreme Court held that an officer may violate the Fourth Amendment when,

  in connection with an application for a warrant, he “makes a false statement knowingly and

  intentionally, or with reckless disregard for the truth” that results in a warrant being issued without

  probable cause. Franks v. Delaware, 438 U.S. 154, 155 (1978).

ANSWER:        This paragraph contains no factual allegations, and thus no response is required.

       87.       The Fifth Circuit extended the Franks rule to arrest warrants and requires an

additional step that asks “whether ‘any reasonably competent officer possessing the information each

officer had at the time [s]he swore [her] affidavit could have concluded that a warrant should issue.’”

Jones v. Perez, 790 F. App’x 576, 580 (5th Cir. 2019) (quoting Freeman v. Cnty. Of Bexar, 210 F.3d

550, 553 (5th Cir. 2000)).

ANSWER:        This paragraph contains no factual allegations, and thus no response is required.

       88.       The Franks case arose in the context of a search warrant, but its rationale extends

to arrest warrants. See Melton v. Phillips, 875 F.3d 256, 262 (5th Cir. 2017) (en banc).

ANSWER:        This paragraph contains no factual allegations, and thus no response is required.

       89.       The Fifth Circuit finds it necessary to hold officers to a reasonable officer standard
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and has clarified that “an officer who makes knowing and intentional omissions that result in a

warrant being issued without probable cause is also liable under Franks.” Melton, 875 F.3d at 264

(quoting Michalik v. Hermann, 442 F.3d 252, 258 n.5 (5th Cir. 2005)) (internal quotation marks

omitted) (emphasis original).

ANSWER:         This paragraph contains no factual allegations, and thus no response is required.

       90.        The Fifth Circuit has also found that a Fourth Amendment violation may be

established where an officer intentionally, or with reckless disregard for the truth, includes a false

statement in a warrant application. Kohler v. Englade, 470 F.3d 1104, 1113 (5th Cir. 2006).

ANSWER:         This paragraph contains no factual allegations, and thus no response is required.

          91.     Likewise, the Fifth Circuit explained that the intentional or reckless omission of

  material facts from a warrant application may also amount to a Fourth Amendment violation. Id.;

  See Hale v. Fish, 899 F.2d 390, 400 n. 3 (5th Cir.1990).

ANSWER:         This paragraph contains no factual allegations, and thus no response is required.

       92.      “To defeat the affirmative defense of qualified immunity as to his Fourth

Amendment-based false arrest claim under § 1983, [Plaintiff] Jones must satisfy the following

elements: (1) the affiant included false information in or omitted material information from the

affidavit and that [he] did so knowingly or with a reckless disregard of the truth; (2) the reconstructed

affidavit (excluding the false information and including the omitted information) would not

establish probable cause to arrest; and (3) to overcome qualified immunity, Plaintiff [ ] must show

“that [no] reasonably competent officer possessing the information that the [affiant] had at the time

[he] swore [his] affidavit could have concluded that a warrant should issue.” Jones v. Perez, No. 3:16-

CV-2835-D, 2017 WL 4238700, at *6 (N.D. Tex. Sept. 25, 2017), aff'd, 790 F. App'x 576 (5th Cir.

2019); quoting Freeman v. Cnty of Bexar, 210 F.3d 550, 553 (5th Cir. 2000).
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ANSWER:         This paragraph contains no factual allegations, and thus no response is required.

        93.       “To determine whether facts omitted from a warrant affidavit are material to the

determination of probable cause, courts ordinarily insert the omitted facts into the affidavit and ask

whether the reconstructed affidavit would still support a finding of probable cause.” Kohler, 470

F.3d at 1113.

ANSWER:         This paragraph contains no factual allegations, and thus no response is required.

        94.       Probable cause cannot exist where the affidavit supporting a warrant contains

material false statements or omissions that are deliberate falsehoods or evidence a reckless disregard

for the truth. DeLeon v. City of Dallas, 345 Fed.Appx. 21, 23 (5th Cir. 2009).

ANSWER:         This paragraph contains no factual allegations, and thus no response is required.

        95.       If the officer, acting intentionally or with reckless disregard for the truth, fails to

provide a magistrate with information that was critical to a finding of probable cause, then the officer

may be held liable. Hale, 899 F.2d at 400.

ANSWER:         This paragraph contains no factual allegations, and thus no response is required.

        96.       The Fifth Circuit has explained that “[i]f the facts omitted from an affidavit are

“clearly critical” to a finding of probable cause, then recklessness may be inferred from the proof of

the omission itself.” Hale, 899 F.2d at 400.

ANSWER:         This paragraph contains no factual allegations, and thus no response is required.

                        Material Omissions in Reckless Disregard for the Truth

        97.       A Probable Cause Affidavit for Basilio’s arrest was issued with Defendant

Rodriguez listed as the affiant.

ANSWER:         Admitted.

        98.       Defendant Rodriguez signed the arrest affidavit and swore to the validity of the

facts included in it.
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ANSWER:        Admitted that Detective Rogriguez signed the arrest affidavit under oath. The

remaining allegations are denied.

       99.       The following is a screenshot of the affidavit sworn to by Defendant Rodriguez for

the arrest of Basilio for the crime of murder, a violation of Section 19.02 of the Texas Penal Code, a

first-degree felony.

ANSWER:        Admitted.

       100.      Material false statements, misleading statements, and omissions have been

highlighted in orange, yellow, blue, and pink. Each of those statements will be addressed.

ANSWER:        Admitted that certain statements have been highlighted in various colors. The

remaining allegations are denied.
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         101.     A Probable Cause Affidavit for Rubi’s arrest was issued with Defendant Rodriguez

 listed as the affiant.

ANSWER:         Admitted.

        102.      Defendant Rodriguez signed the arrest affidavit and swore to the validity of the

facts included in it.

ANSWER:         Admitted that Detective Rogriguez signed the arrest affidavit under oath. The

remaining allegations are denied.

        103.      The following is a screenshot of the affidavit sworn to by Defendant Rodriguez for

the arrest of Rubi for the crime of murder, a violation of Section 19.02 of the Texas Penal Code, a

first-degree felony.

ANSWER:         Admitted.

         104.     Material false statements, misleading statements, and omissions have been

 highlighted in orange, yellow, blue, and pink. Each of those statements will be addressed.

ANSWER:         Admitted that certain statements have been highlighted in various colors. The

remaining allegations are denied.
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          “Witness Barrientez stated that she went to look for the Complainant outside
          with her cousin, Suspect Tovar and Suspect Esparza, but they could not find
          him. After not being able to find the Complainant, Suspect Tovar and Esparza
          left the bar.”


ANSWER:            Defendant objects that this unnumbered paragraph violates Federal Rule of

Civil Procedure 10(b), which requires that “[a] party must state its claims or defenses in

numbered paragraphs, each limited as far as practicable to a single set of circumstances.”

Defendant further objects that the contents of this paragraph are duplicative of the paragraph

that follows it.

        105.        Defendant Rodriguez wrote in the arrest affidavits for Basilio and Rubi that

“Witness Barrientez stated that she went to look for the Complainant outside with her cousin, Suspect

Tovar and Suspect Esparza, but they could not find him. After not being able to find the Complainant,

Suspect Tovar and Esparza left the bar.” This statement is highlighted in orange in the above

screenshots of the affidavits.

ANSWER:            Admitted.

        106.        As explained above in paragraphs 22-33, this is a materially false statement, or

alternatively a materially misleading statement which required other information and context, the

absence of which constituted a material omission, which was intentionally written by Detective

Rodriguez to mislead the Court into issuing warrants for Basilio’s and Rubi’s arrests.

ANSWER:            Denied.

        107.        These were critical facts and if these critical omitted facts were inserted into the

affidavit, then the reconstructed affidavit would not support a finding of probable cause.” Kohler,

470 F.3d at 1113.

ANSWER:            Denied.
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         108.       Reconstructed arrest affidavits including this materially exculpatory information

 would have instead read: Witness Barrientez stated that she went to look for the Complainant

 outside with her cousin, Suspect Tovar and Suspect Esparza, but they could not find him. After not

 being able to find the Complainant, they then walked outside the front of the bar where Rubi ordered

 tacos from a taco stand. Mrs. Barrientez then asked her cousin for a cigarette, but her cousin told

 her that the cigarettes were in her car in the parking lot. Mrs. Barrientez went with her cousin to her

 car in the parking lot and sat in the car smoking a cigarette. Rubi was standing outside of the car

 eating the tacos she just purchased. After Rubi finished eating the tacos, she and Basilio then left.

 Due to the time that Suspect Tovar and Suspect Esparza spent at the bar while Suspect Esparza

 ordered and ate tacos, they did not leave Player’s Bar in time to have been responsible for the

 shooting.

 ANSWER: Denied.

          “A check of the FLOCK (license plate reader) system showed a 2016 black
          Chevy Silverado (Texas tag NXT9166, which is registered to Rubi Esparza)
          driving away from the offense location shortly after the offense occurred.”

ANSWER:            Defendant objects that this unnumbered paragraph violates Federal Rule of

Civil Procedure 10(b), which requires that “[a] party must state its claims or defenses in

numbered paragraphs, each limited as far as practicable to a single set of circumstances.”

Defendant further objects that the contents of this paragraph are duplicative of the paragraph

that follows it.

        109.        Defendant Rodriguez wrote in the arrest affidavits for Basilio and Rubi that “A

check of the FLOCK (license plate reader) system showed a 2016 black Chevy Silverado (Texas tag

NXT9166, which is registered to Rubi Esparza) driving away from the offense location shortly after

the offense occurred.” This statement is highlighted in yellow in the above screenshots of the
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affidavits.

ANSWER:        Admitted.

        110.     As explained above in paragraphs 34-42, this is a materially false statement, or

alternatively a materially misleading statement which required other information and context, the

absence of which constituted a material omission, which was intentionally written by Detective

Rodriguez to mislead the Court into issuing warrants for Basilio’s and Rubi’s arrests.

ANSWER:        Denied

        111.     If the sentence was changed to be “A check of the FLOCK (license plate reader)

system showed a 2016 black Chevy Silverado (Texas tag NXT9166, which is registered to Rubi

Esparza) driving on roads near the offense location but never actually going to the offense location

shortly after the offense occurred” this would obviously alter the judge’s analysis of whether

probable cause existed for Basilio or Rubi, as simply driving in the area of town where a shooting

occurred but not at the shooting location is completely different than “driving away from the offense

location shortly after the offense occurred.”

ANSWER:        Denied as stated.

        112.     If the sentence was changed to reflect the truth it would have said “A check of the

FLOCK (license plate reader) system showed a 2016 black Chevy Silverado (Texas tag NXT9166,

which is registered to Rubi Esparza) driving on roads near the offense location but never actually

going to the offense location or driving away from the offense location too long after the shooting

for the truck to be connected.”

ANSWER:        Denied.

        113.     Clearly this changes the probable cause analysis – causing there to be no probable

cause based off a truck driving in the area – but not leaving the scene of the shooting – far too long

after the shooting for it to be connected –not shortly after the shooting occurred.
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ANSWER:            Denied.

        114.        Detective Rodriguez knew his statement was false and misleading since he gathered

information on Rubi and Basilio’s truck from the FLOCK system which shows the time their vehicle

was at a particular location.

ANSWER:            Denied.

        115.        Thus, when Detective Rodriguez wrote the affidavit and signed it he knew this

statement not to be true.

ANSWER:            Denied.

        116.        Detective Rodriguez intentionally wrote his statement in a way to mislead the judge

so that a finding of probable cause would occur and warrants would be issued for Basilio’s and

Rubi’s arrests.

ANSWER:            Denied.

        117.        These were critical facts and if these critical omitted facts were inserted into the

affidavits, then the reconstructed affidavits would not support a finding of probable cause.” Kohler,

470 F.3d at 1113.

ANSWER:            Denied.

          “The suspect vehicle from video surveillance is identical to the images from
          FLOCK.”
ANSWER:            Defendant objects that this unnumbered paragraph violates Federal Rule of

Civil Procedure 10(b), which requires that “[a] party must state its claims or defenses in

numbered paragraphs, each limited as far as practicable to a single set of circumstances.”

Defendant further objects that the contents of this paragraph are duplicative of the paragraph

that follows it.

        118.        Defendant Rodriguez wrote in the arrest affidavits for Basilio and Rubi that “The

suspect vehicle from video surveillance is identical to the images from FLOCK.” This statement is
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highlighted in blue in the above screenshots of the affidavits.

ANSWER:        Admitted.

       119.    As explained above in paragraphs 47-63, this is a materially false statement which

was intentionally written by Detective Rodriguez to mislead the Court into issuing warrants for

Basilio’s and Rubi’s arrests.

ANSWER:        Denied.

       120.      The corrected sentence in the affidavits should have read, “The suspect vehicle

from video surveillance is not identical to the images from FLOCK because the rims on the trucks

are different, the truck in the FLOCK image has a rear glass window but the suspect vehicle in the

video surveillance does not, the bumper on the vehicle in the FLOCK image has steps on the corners

but the suspect vehicle in the video surveillance does not, the truck in the FLOCK image has a

chrome running bar on the bottom of the doors but the suspect vehicle in the video surveillance has a

chrome running bar much higher up in the middle of the doors.”

ANSWER:        Denied.

       121.      When adding in the omitted information, it is clear that probable cause would not

have been found based off of these being different trucks – in conjunction with the corrected

description of where the truck was actually going and coming from and that it was not seen until too

long after the shooting for it to have been leaving the scene of the shooting.

ANSWER:        Denied.

       122.      Thus, when Detective Rodriguez wrote the affidavits and signed them, he knew this

statement was not true as it is obvious that the two trucks are not identical.

ANSWER:        Denied.

       123.      These were critical facts and if these critical omitted facts were inserted into the

affidavits, then the reconstructed affidavits would not support a finding of probable cause.” Kohler,
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470 F.3d at 1113.

ANSWER:            Denied.

          “On December 2, 2022, Detective Rodriguez obtained phone records for
          Suspect Tovar [and Esparza]. Records showed he [and she] was in the area of
          the offense around the time the offense occurred.”

ANSWER:            Defendant objects that this unnumbered paragraph violates Federal Rule of

Civil Procedure 10(b), which requires that “[a] party must state its claims or defenses in

numbered paragraphs, each limited as far as practicable to a single set of circumstances.”

Defendant further objects that the contents of this paragraph are duplicative of the paragraph

that follows it.

        124.       Detective Rodriguez wrote in the arrest affidavit for Basilio that “On December 2,

2022, Detective Rodriguez obtained phone records for Suspect Tovar. Records showed he was in the

area of the offense around the time the offense occurred.” This statement is highlighted in pink in the

above screenshot of the affidavit associated with Basilio.

ANSWER:            Admitted.

        125.         Detective Rodriguez wrote in the arrest affidavit for Rubi that “On December 2,

2022, Detective Rodriguez obtained phone records for Suspect Esparza. Records showed she was in

the area of the offense around the time the offense occurred.” This statement is highlighted in pink

in the above screenshot of the affidavit associated with Rubi.

ANSWER:            Admitted.

         126.        As explained above in paragraphs 67-73, this is a materially false statement, or

 alternatively a materially misleading statement which required other information and context, the

 absence of which constituted a material omission, which was intentionally written by Detective

 Rodriguez to mislead the Court into issuing warrants for Basilio’s and Rubi’s arrests.
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 ANSWER:         Denied.

       127.      The corrected sentence in the affidavits should have read, “On December 2, 2022,

Detective Rodriguez obtained phone records for Suspect Tovar [and Esparza]. Records showed he

[and she] was in the area of the offense around the time the offense occurred. It was corroborated by

witnesses that he [and she] was at Player’s Bar – 0.3 miles away from the shooting that night which

would explain why his [and her] phone was in the area. These phone records do not place Suspect

Tovar [or Esparza] at the scene of the shooting or even at the location where the shooting occurred

because the area I am referring to is large enough to encompass other locations such as Player’s Bar

where Suspect Tovar [and Esparza] was located.”

ANSWER:        Deneid.

       128.      Clearly, when adding this omitted information, this sentence does not support

probable cause. This is especially true in conjunction with adding in the differences in the vehicles

and the fact that Rubi and Basilio’s truck never went to the location of the shooting and did not drive

away from the location of the shooting shortly after the shooting – or any other time.

ANSWER:        Denied.

       129.    Thus, when Detective Rodriguez wrote the affidavits and signed them, he knew this

statement to be misleading and require context explaining the statement.

ANSWER:        Denied.

       130.      Detective Rodriguez knew this due to understanding that the area of the phone

records was not confined to the location of the shooting and that it would show Basilio and Rubi “in

the area” if Basilio and Rubi were at Player’s Bar, which had been corroborated by witnesses.

ANSWER:        Denied as stated

       131.      These were critical facts and if these critical omitted facts were inserted into the

affidavits, then the reconstructed affidavits would not support a finding of probable cause.” Kohler,
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470 F.3d at 1113.

ANSWER:        Denied.

                            Basilio and Rubi were Wrongful Arrested

       132.      The omitted and false facts concerning Basilio and Rubi’s truck being at the scene

and leaving the scene of the shooting, were critical and material to the Court’s analysis of whether

or not there was probable cause.

ANSWER:        Denied.

       133.      These omitted facts are clearly critical to a finding of probable cause; thus,

Defendant Rodriguez’s recklessness may be inferred from the proof of the omission itself. Hale, 899

F.2d at 400.

ANSWER:        Denied.

       134.      As a direct and proximate result of Defendant Rodriguez’s actions, Basilio and Rubi

were wrongly arrested for the crime of Murder – a first degree felony.

ANSWER:        Denied.

       135.      Further support for the arrest affidavit being based on false and misleading

information was that charges against Basilio and Rubi were never even filed and Basilio and Rubi

were released from custody without needing to post bond.

ANSWER:        Denied.

       136.      As a direct and proximate result of Detective Rodriguez’s actions, outlined in this

Count, in causing Plaintiff Basilio Tovar to be arrested for Murder – Basilio was arrested, was

incarcerated in the Dallas County Jail on a $250,000 bond with no idea when or if he would be

released for eleven days away from his wife and two children, spent Christmas in jail away from his

wife and two children, lost wages from time missed at work, suffered a demotion and reduction

in pay at his job upon return, suffered irreparable harm to his reputation, suffered embarrassment
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and mental anguish, was forced to hire a criminal defense attorney, and had his family truck and cell

phone seized.

ANSWER:         Admitted that Plaintiff Basilio Tovar was arrested for murder and held in the Dallas

County jail on a $250,000 bond. The remaining allegations are denied.

       137.       As a direct and proximate result of Detective Rodriguez’s actions, outlined in this

Count, in causing Plaintiff Rubi Esparza to be arrested for murder – Rubi was arrested, was

incarcerated in the Dallas County Jail on a $1,000,000 bond with no idea when or if she would be

released for ten days away from her husband and two children, spent Christmas in jail away from

her husband and two children, lost wages from time missed at work, was fired from her job, was

unable to obtain new employment due to the murder arrest on her record, suffered irreparable harm

to her reputation, suffered embarrassment and mental anguish, was forced to hire a criminal defense

attorney, and had her family truck and cell phone seized.

ANSWER:         Admitted that Plaintiff Rubi Esparza was arrested for murder and held at the Dallas

County jail on a $1,000,000 bond. The remaining allegations are denied.

       138.       As a result of Detective Rodriguez violating Basilio’s and Rubi’s constitutional

rights, as outlined in this Count, Basilio and Rubi suffered injuries and damages in the form of

emotional distress, torment, and mental anguish, deprivation of their liberty, and losses of income

and earning capacity.

ANSWER:         Denied.

       139.     These injuries and damages were not caused by any other means.
.
ANSWER:         Denied.

                                               V.
                                       PUNITIVE DAMAGES

       140.       Plaintiffs repeat and re-allege each and every allegation contained in the above
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paragraphs as if fully repeated herein.

ANSWER:          Defendant reincorporates his answers to the preceding paragraphs as if fully set forth

herein.

          141.     When viewed objectively from the standpoint of Defendant Rodriguez, and, at the

time of the occurrence, said Defendant’s conduct involved an extreme degree of risk, considering

the probability and magnitude of potential harm to others.

ANSWER:          Denied.

          142.     As a direct, proximate, and producing cause and the intentional, egregious,

malicious conduct by Defendant Rodriguez, which was recklessly or callously indifferent to

Plaintiffs’ protected rights, Plaintiffs are entitled to recover punitive damages in an amount within

the jurisdictional limits of this Court against Defendant Rodriguez.

ANSWER:          Denied.

                                                VI.
                                              DAMAGES

          143.     Plaintiffs repeat and re-allege each and every allegation contained in the above

paragraphs as if fully repeated herein.

ANSWER:          Defendant reincorporates his answers to the preceding paragraphs as if fully set forth

herein.

          144.     Plaintiffs’ injuries were a foreseeable event. Those injuries were directly and

proximately caused by Defendant Rodriguez’s conduct. As a result, Plaintiffs are entitled to recover

all actual damages allowed by law.

ANSWER:          Denied.

          145.     Plaintiffs contend Defendant Rodriguez’s conduct constitutes malice, evil intent or

reckless or callous indifference to Plaintiffs’ constitutionally protected rights. Thus, Plaintiffs are
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entitled to punitive damages against Defendant Rodriguez.

ANSWER:         Denied.

       146.       As a direct and proximate result of the occurrence which made the basis of this

lawsuit, Plaintiffs were forced to suffer:

           a.   harm to reputation in the past and future;
           b.   lost wages, fringe benefits, and diminished earning capacity;
           c.   Emotional distress, torment, and mental anguish;
           d.   Deprivations of their liberty;
           e.   pre-judgment and post-judgment interest;
           f.   attorney’s fees and other costs associated with defending in the criminal case;
           g.   future costs associated with expunging their record if they are so able; and
           h.   such other and further relief, general and special, legal and equitable, to which
                Plaintiffs may show themselves justly entitled.

ANSWER:         Denied.

       147.       Pursuant to 42 U.S.C. § 1983 and § 1988, Plaintiffs seek to recover, and hereby

requests the award of punitive damages, reasonable attorney’s fees, and costs of court.

ANSWER:         Denied.

                                               VII.
                                          ATTORNEY’S FEES

       148.       If Plaintiffs prevail in this action, by settlement or otherwise, Plaintiffs are entitled

to and hereby demand attorney’s fees under 42 U.S.C. § 1988.

ANSWER:         Denied.

                                                  VIII.
                                             JURY REQUEST

       149.     Plaintiffs respectfully request a jury trial.

ANSWER:         This paragraph contains no factual allegations, and thus no response is required.
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                                                  IX.
                                               DEFENSES

         1.       Defendant pleads that Plaintiffs have failed to state a claim upon which relief can be

granted against him.

         2.       Defendant affirmatively pleads his entitlement to qualified immunity. Defendant

pleads that at all times relevant to the incident giving rise to Plaintiffs’ claims, he was a government

official, to wit, a Texas certified peace officer employed by the Dallas Police Department; that he is

currently and was employed at the time of the incidents in question by the City of Dallas; and that he

is entitled to qualified immunity from suit and from damages in the present cause.

         3.       At all times relevant to the incidents in question, Defendant was performing

discretionary functions and acting within and pursuant to the scope of his employment and authority

as a police officer employed by the Dallas Police Department.

         4.       Defendant acted without malice, and without an intent to deprive Plaintiffs of any

legally protected rights.

         5.       Defendant acted with a reasonable good faith belief that his actions were lawful, and

proper; and that he did not violate clearly established law of which a reasonable person would have

known.

         6.       Defendant affirmatively pleads that when he interviewed Basilio Tovar, Mr. Tovar

viewed video footage of the murder and agreed and confirmed that the truck used in the murder looked

like his truck.

         7.       Defendant affirmatively pleads that after Plaintiffs’ arrest their criminal defense

attorney provided to him previously unknown information that tended to exonerate Plaintiffs and

incriminated a previously unknown suspect. Upon receipt of that information, Defendant immediately

acted to verify the new information. Upon verifying the new information, Defendant immediately
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took action to secure Plaintiffs’ release from jail.

       8.      Defendant affirmatively pleads that at the time he signed the affidavits in question, he

reasonably believed that all statements therein were true and accurate, that no material information

had been omitted, and that probable cause existed for Plaintiffs’ arrests.

       9.      Defendant affirmatively pleads that he did not act with a reckless disregard for the truth

at any time.

       10.     At all times Defendant acted in a manner consistent with all applicable laws and

binding precedent.

                                                       X.

                                    DEMAND FOR JURY TRIAL

       11.     Defendant demands trial by jury.


       WHEREFORE, Defendant requests that the Court deny all relief requested by Plaintiffs;

dismiss with prejudice Plaintiffs’ claims against him, render a judgment that Plaintiffs shall take

nothing from Defendant in this action, enter judgment against Plaintiffs and in favor of Defendant for

Defendant’s attorneys’ fees and costs; and that the Court further grant Defendant all such other relief

to which he is entitled.
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                                              Respectfully submitted,

                                              CITY ATTORNEY OF THE CITY OF DALLAS

                                              Tammy L. Palomino
                                              City Attorney

                                              /s/ Lindsay Wilson Gowin
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                                              ATTORNEYS FOR DEFENDANT JOSUE RODRIGUEZ



                                   CERTIFICATE OF SERVICE

        I certify that on November 27, 2023, I electronically filed the foregoing document with the
clerk of the court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing” to all
attorneys of record who have consented in writing to accept this Notice as service of this document
by electronic means.

                                                      /s/ Lindsay Wilson Gowin
                                                      Senior Assistant City Attorney
